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14                                  UNITED STATES DISTRICT COURT
15
                                  NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN FRANCISCO DIVISION
17

18   NATIONAL TPS ALLIANCE, et. al.,                 Case No. 3:25-cv-1766-EMC
19
                            Plaintiff,
20         v.                                        DEFENDANTS’ MOTION TO STAY FURTHER
                                                     DISTRICT COURT PROCEEDINGS
21   KRISTI NOEM, in her official capacity as        (NO HEARING REQUESTED)
     Secretary of Homeland Security, et. al.,
22
                                                     Judge: Hon. Edward M. Chen
23                            Defendants.

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28 DEFENDANTS’ MOT. TO ADMINISTRATIVELY STAY FURTHER PROCEEDINGS
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 1          Pursuant to Federal Rule of Civil Procedure 7(b), Defendants move the Court to administratively

 2 stay further district court proceedings, including the answer or other dispositive pleading, discovery, and

 3 all other pending deadlines related to the Venezuela TPS determinations, to preserve the status quo

 4 between the parties. See Doe #1 v. Trump, 944 F.3d 1222, 1223 (9th Cir. 2019). On March 31, 2025, this

 5 Court postponed the effective date of Secretary Noem’s 2025 Vacatur and Termination of TPS for

 6 Venezuela, preserving Temporary Protected Status for Venezuelans covered by the 2021 and 2023

 7 Designations.1 ECF No. 93. On April 1, 2025, Defendants filed a notice of appeal from the Court’s order.

 8 ECF No. 94. In the Ninth Circuit, Defendants sought an emergency stay of the Court’s order and stay

 9 briefing largely focused on threshold questions of subject-matter jurisdiction. ECF No. 109; see Docket,

10 Nat’l TPS Alliance, et al., v. Noem, et al., 25-2120 (9th Cir.). The Ninth Circuit denied the stay on the sole

11 basis that Defendants did not demonstrate irreparable harm. ECF No. 113. Defendants’ opening brief on

12 the interlocutory appeal is due on April 30, 2025. ECF No. 100. In light of Defendants’ appeal, this Court

13 should stay further proceedings in the district court until the Ninth Circuit rules, because doing so will

14 promote the fair and efficient resolution of the issues presented in this case. Defendants advised Plaintiffs

15 of this motion during a conference on April 25, 2025, who indicated they oppose an administrative stay.

16          “The District Court has broad discretion to stay proceedings as an incident to its power to control

17 its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). That includes entering an administrative stay

18 if “it is efficient for its own docket and the fairest course for the parties . . . pending resolution of

19 independent proceedings which bear upon the case.” In re PG&E Corp. Sec. Lit., 100 F.4th 1076, 1085

20 (9th Cir. 2024). The Ninth Circuit has identified three non-exclusive factors to consider in deciding

21 whether to issue a stay: “(1) the possible damage which may result from the granting of a stay; (2) the

22 hardship or inequity which a party may suffer in being required to go forward; and (3) the orderly course

23 of justice measured in terms of the simplifying or complicating of issues, proof, and questions of law.”

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     Vacatur of 2025 TPS Decision for Venez., 90 Fed. Reg. 8,805 (Feb. 3, 2025) (“2025 Vacatur”);
27 Termination of the October 3, 2023 Designation of Venez. for TPS, 90 Fed. Reg. 9,040 (Feb. 5, 2025)
   (“2025 Termination”).
28 DEFENDANTS’ MOT. TO ADMINISTRATIVELY STAY FURTHER PROCEEDINGS
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 1 In re PG&E Corp. Sec. Lit., 100 F.4th at 1085 (cleaned up). All three factors weigh in favor of a stay of

 2 district court proceedings in this case pending resolution of Defendants’ appeal to the Ninth Circuit Court

 3 of Appeals. ECF No. 94.

 4          First, a stay will serve “the orderly course of justice” by “simplifying” or resolving central (and

 5 potentially dispositive issues) in this litigation. In re PG&E Corp. Sec. Lit., 100 F.4th at 1085. Here, the

 6 Court concluded that it had jurisdiction to review the Secretary’s 2025 Vacatur and Termination

 7 determinations under the Administrative Procedures Act notwithstanding the jurisdictional bar at 8 U.S.C.

 8 § 1254a(b)(5)(A). ECF No. 93 at 15-30. This threshold—and, as Defendants argue, dispositive—

 9 jurisdictional issue is now before the Ninth Circuit. Any legal questions it resolves will bind the Court.

10 See Ranchers Cattlemen Action Legal Fund v. U.S. Dep’t of Agriculture, 499 F.3d 1108, 1114 (9th Cir.

11 2007) (“A fully considered appellate ruling on an issue of law made on a preliminary injunction appeal .

12 . . become[s] the law of the case for further proceedings in the trial court on remand and in any subsequent

13 appeal.”) (quoting 18 Wright & Miller, Federal Practice & Procedure § 4478.5 (2002)). Even if the Ninth

14 Circuit were to reject Defendants’ jurisdictional arguments, its decision will still materially affect how

15 this case proceeds before this Court. See In re PG&E Corp. Sec. Lit., 100 F.4th at 1085 (“A district court

16 may, with propriety, find it is efficient for its own docket and the fairest course for the parties to enter a

17 stay of an action before it, pending resolution of independent proceedings which bear upon the case.”)

18 (cleaned up). In short, because the Ninth Circuit “must address issues identical to those presented in this

19 action” this Court “could receive considerable assistance in resolving this action” and a stay is warranted

20 as a matter of judicial efficiency. In re PG&E Corp. Sec. Lit., 100 F.4th at 1086 (cleaned up).

21          A stay would also serve “the orderly course of justice” by preserving judicial resources and the

22 litigation resources of both parties. Id. at 1085. Any court-ordered deadlines and proceedings set before

23 the Ninth Circuit renders a decision on Defendants’ appeal would be premature and may require

24 reconsideration in light of that decision. See Leyva v. Certified Grocers of Cal., Ltd., 593 F.2d 857, 864

25 (9th Cir. 1979) (observing that an administrative stay may be granted if “the other proceedings will be

26 conducted within a reasonable time in relation to the urgency of the claims presented to the court.”); 9th

27 Cir. R. 3-3(b) (establishing an expedited briefing schedule by default for cases challenging district court

28 DEFENDANTS’ MOT. TO ADMINISTRATIVELY STAY FURTHER PROCEEDINGS
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 1 interlocutory orders). Additionally, if the district court proceedings continue until final judgment,

 2 rendering the postponement order under 5 U.S.C. § 705 moot, the Ninth Circuit would be required to

 3 rededicate its resources to the entire case at that stage, even though it may conclusively determine the legal

 4 issues before it at this time. See Ranchers Cattlemen Action Legal Fund, 499 F.3d at 1114. The judicial

 5 resources dedicated to the intervening appeal would thus be wasted. An administrative stay should be

 6 issued to avoid that result.

 7          Second, a stay will eliminate the “hardship and inequity” that the parties would otherwise suffer

 8 in “being required to go forward” without guidance from the Ninth Circuit. In re PG&E Corp. Sec. Lit.,

 9 100 F.4th at 1085. Just as the Court would devote time and resources to this proceeding, so too the parties

10 would devote their own resources to participating in discovery and litigating issues that may ultimately be

11 mooted, clarified, or narrowed by the Ninth Circuit’s decision. See United States v. Texas, 144 S. Ct. 797,

12 798 (2024) (Barrett, J., concurring) (observing that one point of administrative stays “is to minimize harm

13 while an appellate court deliberates”). That is particularly true here because the Court’s order permits

14 Plaintiffs to serve “discovery requests on the government” and requires the government to take other

15 actions that are predicated on the very jurisdictional rulings that are now before the Ninth Circuit. ECF

16 No. 93 at 77; see Leyva, 593 F.3d at 864 (“It would waste judicial resources and be burdensome upon the

17 parties if the district court . . . were mandated to permit discovery, and upon completion of pretrial

18 proceedings, to take evidence and determine the merits of the case at the same time as” the issues are

19 “going through a substantially parallel process.”). Moreover, because any review of the Secretary’s TPS

20 determinations is limited to the administrative record, there is no risk that relevant evidence in this case

21 will become stale during a stay of proceedings. 5 U.S.C. § 706, Fed. R. Civ. P. 26(a)(1)(B)(i).

22          Third, Defendants have taken steps, as required by Fed. R. Civ. P. 26, to preserve potentially

23 discoverable materials while the Ninth Circuit resolves Defendants’ expedited appeal. Indeed, in response

24 to this Court’s order, the Parties submitted a Joint Status Report and are actively conferring regarding an

25 ESI protocol. Defendants have also filed the administrative records. ECF Nos. 103, 104 (administrative

26 records); see ECF 93 at 77. Thus, Defendants have already taken the necessary steps at this time.

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28 DEFENDANTS’ MOT. TO ADMINISTRATIVELY STAY FURTHER PROCEEDINGS
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 1          In short, while the Ninth Circuit reviews the threshold jurisdictional issues that must be decided

 2 before Plaintiffs’ challenge to the Venezuela TPS determinations continues, this Court should

 3 administratively stay this case (and all associated deadlines) pending resolution of the docketed appeal.

 4 See In re PG&E Corp. Sec. Lit., 100 F.4th at 1085; Doe # 1, 944 F.3d at 1223.

 5 Dated: April 25, 2025                                 Respectfully submitted,

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28 DEFENDANTS’ MOT. TO ADMINISTRATIVELY STAY FURTHER PROCEEDINGS
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18                                                   Case No. 3:25-cv-1766-EMC
19                          Plaintiff,
            v.
20   KRISTI NOEM, in her official capacity as        [PROPOSED] ORDER GRANTING
     Secretary of Homeland Security, et. al.,        MOTION TO STAY FURTHER
21                                                   DISTRICT COURT PROCEEDINGS
                              Defendants.
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28 [PROPOSED] ORDER GRANTING ADMINISTRATIVE STAY
   No. 3:25-cv-1766-EMC
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 1          Before the Court is Defendants’ motion for an administrative stay postponing all further district

 2 court proceedings and deadlines associated with Plaintiffs’ challenge to the Venezuela TPS determinations

 3 until the Ninth Circuit Court of Appeals has ruled on Defendants’ appeal (ECF No. 94) of this Court’s

 4 postponement order (ECF No. 93). Having reviewed the motion, IT IS ORDERED that Defendant’s

 5 motion for an administrative stay of further district court proceedings is GRANTED.

 6
     Issued this ___ day of April, 2025.
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 8                                                       Edward M. Chen
 9                                                       United States District Judge

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28 [PROPOSED] ORDER GRANTING ADMINISTRATIVE STAY
   No. 3:25-cv-1766-EMC
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